                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF ALASKA

  IN THE MATTER OF THE SEARCH OF                  ) No. 3:21-mj-00233-MMS
                                                  )
  CONTENTS OF KEYBANK ACCTS                       )
                                                  )
  720121030160; 720121030004; 720121030525,
                                                  )
  & NORTHRIM ACCT 3170321542; UP TO               )
  $1,010,204.00


                               PROPOSED ORDER

      Having duly considered the United States= Motion to Unseal all documents in the

above-captioned matter, the motion is hereby GRANTED.

      IT IS SO ORDERED



DATED: ___________________             _______________________________
                                       U.S. MAGISTRATE JUDGE




       Case 3:21-mj-00233-MMS Document 5-1 Filed 04/28/21 Page 1 of 1
